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                           IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF UTAH

UNITED STATES OF AMERICA,                             MEMORANDUM DECISION AND
                                                      ORDER FINDING AS MOOT
                         Plaintiff,                   DEFENDANT LYLE JEFFS’ REQUEST
                                                      FOR DISCLOSURE OF EVIDENCE TO
v.                                                    BE USED AT TRIAL
LYLE STEED JEFFS, et al.,
                                                      Case No. 2:16-CR-82 TS
                         Defendants.
                                                      District Judge Ted Stewart


         This matter is before the Court on Defendant Lyle Jeffs’ Request for Disclosure of

Evidence to be Used at Trial. The other Defendants have joined the Request. Defendants

request the government give notice of the evidence it intends to use in its case-in-chief in order

for Defendants to have an opportunity to move to suppress evidence under Federal Rule of

Criminal Procedure 12(b)(3)(C).

         Fed. R. Crim. P. 12(b)(4)(B) provides that “the defendant may, in order to have an

opportunity to move to suppress evidence under Rule 12(b)(3)(C), request notice of the

government’s intent to use (in its evidence-in-chief at trial) any evidence that the defendant may

be entitled to discover under Rule 16.” “The rule provides a mechanism to insure that the

defendant knows of the government’s intention to use evidence to which the defendant may want

to object.” 1 “The purpose of the rule is not to reveal the government’s trial strategy, but merely

to provide the defendant with sufficient information to file the necessary suppression motions.” 2


         1
             United States v. Lujan, 530 F. Supp. 2d 1224, 1244 (D. N.M. 2008).
         2
             Id.

                                                  1
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       In response to Defendants’ request, the government has stated that “Defendants and their

counsel should proceed under the assumption that the United States will use evidence obtained

from the Title III and search warrant seizures.” 3 Defendants previously sought and received an

extension to file motions to suppress related to search warrants, affidavits in support of search

warrants, and Title III requests and authorizations. 4 Thus, it appears that Defendants have been

made aware of the evidence the government intends to use in its case-in-chief that may be

subject to a motion to suppress.

       It is therefore

       ORDERED that Defendants’ Request for Disclosure of Evidence to be Used at Trial

(Docket No. 275) is MOOT.

       DATED this 22nd day of August, 2016.

                                              BY THE COURT:



                                              Ted Stewart
                                              United States District Judge




       3
           Docket No. 456, at 2.
       4
           Docket No. 465.

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